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(This form is intended to be used. by persons who are not represented by an attorney. The form
should NOT be used by a prisoner who is filing a complaint under the Civil Rights Act, 42
U.S.C. section 1983. A separate form is obtainable for prisoners.) ·


                      IN THE UNITED STATES DISTRiCT COURT
                       FOR THE SOUTHERN DISTRICT OF IOWA



Oluwatosin Smith Oluwadare




(Enter above the FULL name of each
plaintiff in this action)

              vs.                                                  COMPLAINT
  Iowa State University;
                                                                  (1). Breach of Contract
  Altukhova Nataliya, in her
                                                                   (2). Violations of the Fourteenth
 official and individual capacity;                                 Amendments, 42 U.S.C. §1983.
 Dayal Vinay, in his individual
  capacity.
(Enter above the FULL name of each
defendant in this action)
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Parties
(In item A below, place your name in the first blank and place your present address and
telephone number in the second blank. In the third blank write the state where your home is
("Home State"). In item B below, do the same for additional plaintiffs, if any.)

A.        Name of Plaintiff   Oluwatosin Smith Oluwadare
          Address & Telephone Number      216 Stanton avenue, apt 307b,Ames IA 50014
                                 Iowa



B.        Additio~al Plaintiffs (include addresses, telephone numbers and home state for each)




(In item C below, place the FULL name of the defendant in the first blank place, the address and
telephone number for the defendant in the second blank. In the third blank, write the state in
which the defendant has his/her home. If the defendant is a corporation, list the_loc_ation of its
home office, and the state where it is incorporated, if known. If the defendant is a government
agency, simply name it. In item D, do the same for additional defendants, if any.)

C.        Name of defendant         Iowa State University
                              -----------'---~---------~
                                        Office of University Counsel, 3550 Beardshear Hall, Ames, IA 50011-2045
          Address & Telephone Number _P_h_on_e_:5_1_5-_2_94_-_53_5_2_ _ _ _ _ _ _ _ _---'---

                                  Iowa

D.        Additional Defendants (include addresses, telephone numbers and home state for each).

            Altukhova Nataliya: 2322 Howe 537 Bissell Rd Ames, IA 50011
     phone: 515-294-7482; Dayal Vinay, 2351 Howe, 537 Bissell Rd Ames,

            IA, 50011 phone: 515-294-0720


STATEMENT OF CLAIM
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                                                                     I

                                                                     I
(State here as briefly as possible the FACTS of your case. You MUST state EXACTLY what
each defendant personally did, or failed to do, which resulted in hann to you. State the date
AND place of all events. Attach an extra sheet if necessary, and write the heading "Part II
Continued" at the top of the sheet. Keep to the facts. Do not give any legal argume?ts or cite
any cases.)
  Plaintiff Oluwatosin Smith Oluwadare ("Oluwatosin"), for his
                                                                             11    11
  Complaint against Defendants: Iowa State University ( ISU                             ),



 Altukhova Nataliya, and Dayal Vinay, states as follows:




(If you know, BRIEFLY state what SPECIFIC law of constitutional provisions defendant(s)
violated.)

Violations of the Fourteenth Amendments to the Iowa & United
States Constitutions.




RELIEF
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                                                               i
(State briefly EXACTLY what you want the Court to do for you. Make no legal arguments.
Cite no cases or statutes.)                                    '

  Damages in an amount in excess of ninety thousand dollars to compensate Oluwatosin's

 pecuniary damages caused by Defendants' conduct;. regrade of AeroE 160 and AeroE 426 solely

    on individual work of the Oluwatosin. Release of Oluwatosin's transcript and restructure of

the tuition fees of spring 2016, without collection fees and interest due to the breach of contract.

Such other and further relief as this court may deem just, proper, equitable, and appropriate.


Signature(s) of Plaintiff(s)
               I    o.o            '"Ju"e 0 .()
Signed this -2-e- day of _ _~_,;.___ _ _ _ _ ---=2""'"0~17~-




(Signature~                                                   (321 )-406-5256
                                                      (Area Code)-Telephone Number

    216 stanton avenue,

    Apt 307b

    Ames, IA 50014

    Email : sonit99@yahoo.co.uk
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          Part II continued

                  INTRODUCTION: substantive allegations


             1. U    Iowa State University ("ISU") is one of two Iowa's

      universities and claims its "focus has always been its students"; helping

      its "students take advantage of many opportunities to engage in real-

      world class experiences and cutting-edge research". The main mission

      is to "create, share, and apply knowledge to make Iowa and the world a

      better plac,e". Based on these, Oluwatosin Smith Oluwadare

      ("Oluwatosin") enrolled in the University's undergraduate engineering

      program. However, Oluwatosin's experiences were the very antithesis

      of these statements.

            2.      ISU engaged in a systematic campaign of academic

      degradation, retrogression and stagnation while fostering a divide

      between the Plaintiff and its students; isolating and detaching

      Oluwatosin from other students with whom he shares commonalities,

      by placing these students in a conducive and progressive academic

      cocoon, in the hopes that in future, it is used as a foil to validate a

      victim-blaming argument. This action ensued because Plaintiff has

      spent approximately $200,000 on his undergraduate education over

      nine years and is yet to graduate; he is more than 4 years behind is

      friends and colleagues.
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      3.          The Defendants have delayed his graduation, caused him to

           default on his financial obligations, and denied him the same rights

           of other undergraduate students with regards to the Due Process

           Clauses of the fowa and United States Constitutions. Furthermore,

           the student-university relationship is analogous to mutualism; on the

           contrary the relationship between Plaintiff and ISU is analogous to

           parasitism: his grades, time, hard-work, constitutional rights,

           money, future is taken away and he is left in severe economic

           hardship.

                 4.      Accordingly, ISU's actions are counter-intuitive: the

           success of an institution's alumnus redounds to the institution's

           positive image therefore working against its own student, giving the

           academic fillip to his/her failure and stagnating him/her is counter-

           intuitive. Which broaches the question: Does ISU see the Plaintiff

           has a future alumnus?

                             FACTUAL BACKGROUND
               Exclusion from honour roll and scholarship awards
                 5.      The Plaintiff is an Engineering student that

           maintained 3 .91 cumulative GP A up until the' end of spring 2014

           semester with 75.5 cumulative credit hours which categorises

           Oluwatcisin has a Junior; yet he was never offered a scholarship nor
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        was he included in the honour roll awarded i~ spring 2014: Top 2
                                                         I


        percent of sophomore year, which he was given in freshman year.

                      Infringing on contractual agreement

               6.          Spring 2016, plaintiff was offered a conditional

        admission by the international students and Scholars Office

        ("ISSO"). The condition was that Oluwatosin was to produce a

        medical leave of absence letter regarding taking medical leave the

        prior semester (fall, 2015) at a previous university and for the

        present semester (spring, 2016) at Iowa State University, before he

        would be admitted as a legal international student of Iowa State

        University. Plaintiff took the offer and produced a letter from his

        doctor that stated he has "cumulative stress" and recommended

        "sedentary'' rest for that semester spring 2016.

               7.          A contract was formed between Oluwatosin and

        Iowa State University from the moment the doctor's medical leave

        of absence was accepted by the international students and Scholars

        Office.

               8.          Plaintiff performed his contractual obligations

        pursuant to the terms of Iowa State University's offer and registered

        for his classes.

               9.          Subsequently, Oluwatosin had a severe headache the

        second week of the semester (spring, 2016) preventing him from
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         attending classes that week; so severe he could not even leave the
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         house therefore self-medicated on the painkillers he got from his

         roommate; every four hours for three days before it subsided by

         degrees.

               10.     On Friday February 26, 2016, Oluwatosin received a

         string of emails from the instructor of AeroE 344 laboratory class,

         Hui Hu, concerning his absence from one class period. One of the

         emails stated that "absences from lab exercises will result in an "F"

         in the ~ade for AerE344 course". Consequently, Oluwatosin has to

        produce a doctor's "note" about his "sickness"-- headache.

               11.    Subsequently, Oluwatosin was prevented from

         attending the AeroE 344 laboratory and from signing the attendance

         sheet at the laboratory by the laboratory assistant without producing

        the doctor's note; Plaintiff was ultimately given an F for that

        semester.

               12.       Based on the contractual agreement with ISU,

        Oluwatosin should not be barred from class nor failed for missing

        just one day of classes of the whole semester since the doctor's

        letter presented to ISSO covers him for that semester.

               13.    Furthermore, there exists a doctor-patient

        confidentiality, which is one of the most important pillars of
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         medicine, which prevents the disclosure of medical conditions,
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         concerns and prognosis to others, especially non-doctors.

               14.      Additionally, no academic yardstick (test,

         homework, examination) can be employed to medically gauge the

         level of stress an individual is experiencing at any moment in time

         nor did Plaintiffs doctor mention that the plaintiff had mental

         incapacity.

               15.      Oluwatosin enrolled at Iowa State University, his

         parents paying for tuition and fees mostly upfront, before even

         registering for any course, as demanded by the University.

               16.      Plaintiff relied on the belief that ISU will implement

         and enforce its Policies and comply with the requirements of

         applicable law.

               17.      There is an implied contract in law between Iowa

         State University and Oluwatosin Smith Oluwadare . ISU violated

         this contract partly by not awarding Oluwatosin his rights and

         merits to which he was entitled; and partly by failing him and

         preventing him from finishing the course he registered for within a

         sedentary, peaceful academic environment.
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           Academic degradation: ISU fails Plaintiff in AeroE 426

                18.      Fall, 2014: Plaintiff registered for Aerospace

         Engineering 160 ("AeroE 160") and Aerospace Engineering 426

         ("AeroE 426") amongst other Aerospace courses. Groups and

         group-projects were assigned in AeroE 160 and AeroE 426.

         Oluwatosin was assigned to a group, in each of these courses.

                19.      Plaintiff has been involved in at least five different

         group projects, over the years, in three different universities,

         including Iowa State University, and passed each of these courses

         with a letter grade A (without any academic issue or social ruckus

         or both) prior to fall 2014.

               20.       Due to students syndrome, a well observed

         phenomenon in academia, the group members only started work on

         the group project, in AeroE 426, two days to the deadline; a project

         which the group had over four weeks to execute. Deadline for

         submission was December 8, 2014; group stated work on project

         December 5, 2014 (over the weekend).

               21.      The usual venue for group meetings was change

         December 5; according to the group members it was "too noisy".

         Oluwatosin was uninformed about this sudden change thus missed

         this meeting and was also on sedatives over the weekend due to
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         extenuating circumstance: death of a family lember. Plaintiff

         therefore was absent on the last two days before the submission

         deadline.

               22.          Prior to this, Oluwatosin visited the instructor, Dayal

         Vinay, at his office, expressing his uncertainty about the group's

         dynamics and future, given that nothing has been done, group

         meeting rarely occurs and members hardly show up.

               23.         Few hours before the submission deadline on

         Monday, upon inspection of the project, Oluwatosin expressed his

         disapproval and reservations; the project was submitted regardless

         by the other members. One of the members argued that: some other

         groups in the course only had five pages of report and "ours" were

         well over that.

               24.         Subsequently, the group was awarded an F (25/40) on

         the project. The instructor, Dayal Vinay, also awarded Oluwatosin a

         B- as an overall grade, in which the group project's score was a

         fairly large percentage of the final grade.

               25.     This was Plaintiffs first B grade as a student of ISU,

         after five semesters. Prior to this he had maintained straight As.

               26.     Oluwatosin contacted the instructor, Dayal Vinay, to

         start up the academic grievance process. He received no response to

         his email.
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               27.     The normal procedure was to rFspond to the

         complaint (plaintiffs email), this response will determine if the

         issue goes higher up, usually to the instructor's department chair, or

         is resolved between the student and instructor.

               28.     The Defendant's decision not to respond to

         Oluwatosin's complaint puts the grievance process on a hold.

               29.     Dayal Vinay has institutional and constitutional

         obligations to put in motion a fair and reliable process that

         recognises the basic due process rights of students in a expeditious

         fashion.



    Academic degradation: ISU fails Plaintiff in AeroE 160 awarding
                   arbitrary and capricious grade

               30.       Fall, 2014 AeroE 160: Oluwatosin was deprived of

         academic experience, due to collective alienation by group members

         based on the group's collective consensus without Oluwatosin's

         consent: formal and public exclusion from group activities,

         responsibility, communication, correspondence and role.

               31.       Oluwatosin's name was not included on the

         presentation slide when the group was presenting the design project.

         Plaintiff had no knowledge and was not informed about the

         methodology and functionality behind the design.
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                32.      The situation deteriorated to a:point where
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         Oluwatosin was told to sit on a different table as opposed to the

         other group member's, by a member of the group.

                33.      After this incident Oluwatosin reported the situation

         to the staff in charge of the laboratory class, Benson James.

         Informing him that the group's decisions are bias and that it was

         clear a subjective, arbitrary and biased cross-evaluation (worth

         15%) will ensue affecting his grade at the end of the semester.

                34.      The chasm in the group was left unattended; situation

         was left to deteriorate further.

                35.      Plaintiffs name was later forced on the group-list by

         the group members about a week to the end of the semester after the

         project was over and was clear that the design was fundamentally

         flawed and would be a failure. As though Oluwatosin was the one

         who demanded not to have his name on the project in the first place.

                36.    The belated inclusion of Oluwatosin's name was an

         obvious move to earn the right to cross evaluated the plaintiff.

                37.      Given that his volunteered opinion with regards to

         the flaw of the design were rudely turned down, Oluwatosin

         decided not to interfere, according to their wish, with their

         consensus: project design, group's hierarchy, proposal, structure
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         and the like; should the project fail he won't be blamed for
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         interference into the already established group-plan.

               38.      The project was a failure as predicted by the Plaintiff

         and a public debacle for every member of the group: half the task

         was barely accomplished. Arguably the worst design of the

         semester.

               39.      The group was awarded 91.5 for the design.

               40.      Students were taught in AeroE 160 that the most

         important characteristics of a good design are functionality and

         safety: a product must function safely for its purpose; manufacturers

         recall products mainly for functionality or safety or both issues,

         rarely for anything else. Contrary to these, an LTA design that was

         hardly functional (uncontrollable) for its purpose was given a 91.5

         percent.

               41.      The 91.5 was forced on the Plaintiff even after

         expressing he wanted to be graded based on what he did as an

         individual student in the class since he was not allowed to

         contribute to the project.

               42.      Plaintiff opines that the 91. 5 was forced on him, even

         though he had been barred from contributing to the project, due to

         the fact that he was ostracised by the group members, to put

         forward an argument that: the Plaintiff gladly took the 91.5 percent
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         (in AeroE 160) but rejected the 25/50 (in AeloE 426) solely because

         the latter was low, not due to contributions and other issues. It also

         empowers the group members and veils their error of judgement.

               43.       Plaintiff further opines that since he was similarly

         failed in two classes in spring 2012, a situation he stressfully

         resolved personally, the use of student-group activities to

         accomplish a similar design a second time, diverting the direct

         involvement of an instructor, makes it seem as though Plaintiff has

         personal issues working in groups.

               44.      Additionally, there was also a cross-evaluation in

         AeroE 160, worth fifteen percent of the total grade of the semester,

         performed at the end of the semester.

               45.        Each student must perform the cross-evaluation,

         otherwise would be failed.

               46.      The cross-evaluation was based on distributing 100

         points to each "team" member based on how well each member felt

         the members did in the group i.e., based on subjective feelings as

         opposed to a system, marking-scheme or academic yardstick. This

         opens a yawning opportunity for subjective, arbitrary grades. In fact

         the number of possible combination of points summing up to a 100

         points that each member can feel, produce and award, that would be

         acceptable grades for other member is almost infinite: one of many
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         acceptable scenarios is each member award4g JOO-points to one

         particular member only and zero points to the other members; since

         it is a zero-sum game, as long as all the points add up to a 100-

         points it is acceptable. This leaves room for arbitrariness that may

         be influenced by cronyism, nepotism, in-group favouritism and the

         like, resulting in inflated evaluations beyond the maximum 100-

         points: for example, an individual can earn 600-points. In that case,

         does the individual get a 15% or 90%?

               47.     To avoid these unfairness and arbitrary-and-

         capricious grading inherent the rule, Oluwatosin divided the 100-

         points equally (16.666 each) amongst the other team (group)

         members giving each member an equal opportunity to succeed;

         tantamount to an instructor giving each student in his/her class extra

         credit points of equal magnitude: it only shifts the "bell curve"

         forwards but the essence, nature, curvature and objectivity are

         preserved.

               48.     Additionally, Plaintiff had to have participated and be

         included in the group as a functioning member to exude feelings

         needed to award points nor could the group members award

         Oluwatosin points after, based on collective agreement, depriving

         him of academic experience and participation.
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                                                       '

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               49.     December 23 2014, Oluwatosih went to Katrina
                                                       I
                                                       '
         Williams' office at her request, pertinent to the chasm in the AeroE

         160 group; Katrina Williams stated metaphorically that: the

         members of the group own the bakery and Oluwatosin was just

         buying bread. She further threatened that Oluwatosin will get

         arrested by Ames police if he fought any student; an evidence of a

         foreknowledge of the fact that the AeroE 160 group members were

         going to fail Oluwatosin and the anticipation of a physical

         retaliation from Oluwatosin when that situation occurs.

               50.    On the contrary, Oluwatosin has always been a

         positive student ofISU: he teaches students and helps with

         assignment and projects-- once did a four-student group project in

         the absence of other members, i.e., he unselfishly helps students

         progress academically; he gives his pricey possession, financial and

         morale support to students, i.e., he helps the students advance

         socially and physiologically; he gives student-assistant, teachers and

         instructors perfect ratings on all evaluations whether they deserved

         it or not (which included, in fall 2014 prior to December 23:

         Altukhova Nataliya, Dayal Vinay, Katrina Williams), i.e., he helps

         instructors advance in their respective professions.

               51.      Oluwatosin has fostered friendly relations and a

         productive, academic environment: a portrayal and a reflection of
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         his personal philosophy of "loving everyone'!, which he wrote about

         in his 7-page essay in English 250 at ISU, spring 2009 ..

                52. ·    Plaintiff awards perfect ratings to instructors

         because: firstly, an instructor of ISU that got his first perfect ratings

         in 2009 thanked him saying: "I am glad you were in my class this

         semester; you made all the students so relaxed". Secondly,

         academia seldom regards student's cross-evaluations as a reliable

         data that should be a direct translation into reality (disgruntled

         students naturally give skewed evaluations): instructors are not

         sacked, demoted, pay-degraded based on a single semester's cross-

         evaluation. If ever, it will be based on a cumulative data over many

         semesters because cross-evaluations are merely feedbacks.

         Therefore Plaintiffs perfect ratings only served as the exception; a

         cold comfort for instructors.

                53.      Subsequently, Oluwatosin was collectively given an

         F (30/100) on the cross-evaluation; and a B by the instructor,

         Altukhova Nataliya. The instructor used the cross-evaluation result

         to calculate Oluwatosin's final grade which was posted on

         December 28, 2014 and eventually on his transcript officially on

         December 30 2014; leaving almost no room to protest his grade

         before official postage.
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                54.      Plaintiff commence this   actio~   against the

         defendant, Altukhova Nataliya in her official capacity, pursuant to 5

         U.S. Code§ 706. Altukhova Nataliya as "the principal" and each

         group member, as "the agent" awarding grades on behalf of "the

         principal".


             ISU's offers a farcical solution to Plaintiff's grade issues


                55.     September 22, 2015 after Oluwatosin emailed the

         dean's office concerning the grades of fall 2014 for AeroE 160 and

         AeroE 426; Mirka Gary stated that Oluwatosin did not apply for an

         appeal regarding AeroE 160 before the deadline therefore it cannot

         be appealed; he also insinuated in the email that Oluwatosin should

         do his own project in AeroE 426: a project of a graduate class

         designed for four to five students as a group project for one

         individual will be excessive.

               56.      Mirka Gary stated further that reporting the alienation

         from the group in AeroE 160 does not count. Therefore if a student

         has a legitimate, insidious issue (an error, oversight, grade

         complaint, clarification on assignment and the like) in a course

         within a semester, that is potentially detrimental to his/her final

         grade, reporting the issue or the issue per se does not count until the

         final grade is officially posted on his/her transcript. One can infer
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         from this that ISU only adopts any rule,   excu~e   or "solution" that
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         works against the Plaintiff, in this case by deliberately merging two

         separate issues ..

                57.    On the contrary, Plaintiff did not Contact Mirka Gary

         to initiate the grievance process regarding AeroE 160 grade in

         September 22, 2015. If plaintiff wanted to initiate the grievance

         process he would have contacted Altukhova Nataliya via email at

         the end of the fall 2014 semester. Grievance process after the

         semester is one thing, reporting an issue within the semester is

         another.

                58.    Plaintiff contacted Mirka Gary regarding the fact he

         proactively reported the issue to the instructor via the appropriate

         staff in charge, for a preventive action, and was ignored.

                59.     There is a double standard that can be inferred here: a

         student cannot miss the deadline but it was just fine and acceptable

         to delay the Due Process and hold on to his/her constitutional right,

         viz., the defendant, Dayal Vinay, can choose to respond to the

         complaint concerning grades and kick-start the grievance process

         whenever it suits him.

                60.      Spring 2016, after more than a year, Oluwatosin's

         adviser, Katrina Williams, told him [Oluwatosin] to send him

         [Dayal Vinay] another email, stating what his [Oluwatosin]
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                                                         I

         contributions were regarding the group projeet, that the Defendant

         was ready to resolve the issue.

               61.       Oluwatosin got a response stating "the-grade stands"

         from Dayal Vinay with an attached link to the email message.

               62.       Oluwatosin's response was, "that's alright"; which

         was not an agreement but an acknowledgement. It was an

         acknowledgement of the fact that he was being lead on deliberately

         to instead create another avenue for, Dayal Vinay, to right his

         wrong after the fact; but "justice delayed is justice denied".

                63.    Subsequently, spring 2016, Oluwatosin was offered a

         "solution" to this AeroE 426 and AeroE 160 grade issue by ISU via

         Katrina Williams at the ISSO with Vance Deborah: an offer to drop

         all courses (including courses in which Oluwatosin earned full As)

         taken in fall 2014 based on extenuating circumstance. Oluwatosin

         turned the offer down since it is tantamount to academic stagnation

         and retrogression: waste of time, money and effort; although, ISU is

         aware that Plaintiff is behind his friends more than three years; a

         solutioi;i reflecting a goal to make Plaintiff a perpetual student.

               64.      Society places faith in academia to produce objective,

         verified, reliable and dependable grade via conscientious and

         exhaustive process; these grades are, in tum, used to make

         important (sometimes life-changing) societal decisions forming a
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         closed, self-sustaining loop. This is the most important duty and
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         faith placed on the shoulders of academia.


     ·Academic stagnation and retrogression: ISU relegates Oluwatosin to
                               freshman status

            65.         March 3, 2016 Oluwatosin received an email via his

      Advisor stating that: "The college of engineering is placing a hold oil

      your registration until you complete engr 101. You will beable [sic] to

      register for gen ed courses, non-engineering tech electives and 100

      level engineering courses"; a move which is tantamount to an academic

      stagnation and retrogression. The email asserts that the Plaintiff has

      been "warned at least three times".

                  66.    Plaintiff was aware but once in fall, 2014 but

         transferred at the end of the semester due to extenuating

         circumstance and stress. The implication of not registering for a

         freshman-advising, orientation course that is offered on satisfactory-

         fail basis, which is not a prerequisite for any course, was not

         affirmatively asserted nor mentioned in spring 2016 by Katrina

         Williams.

                  67.    Plaintiff is informed and believes and based thereon

         alleges he was not informed of the urgent need to register for engr-

         101 in spring 2016 nor was he informed of the results of the failure

         to register for this course by Katrina Williams, while he was given
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             levity to choose the classes he can handle for that semester due to
                                                                1




             cumulative stress a: stated by his doctor in spring 2016.
                                                                    -
                      68.        Oluwatosin would not have deliberately decided not

             to register for this course knowing fully well the ramifications will

             ultimately academically stagnate him given his personal urgency to

             graduate. Therefore the decision to relegate Oluwatosin to freshman

             status contradicts the mens rea principle in ISU's policies.

                      69.        ISU violated Oluwatosin Due Process rights because

             he was not afforded the opportunity to defend his position and

             appeal the decision before he was academically retrogressed and

             stagnated.


       ISU's passive indifference leads to Plaintiff's loss of scholarship
       70.              Oluwatosin needed, according to the terms of his

             scholarship, to have at least 3.66 GPA to earn his scholarship

             starting spring 2015; submit the GPA at most two months after the

             end of every semester, otherwise the scholarship will be assumed

             abandoned and forfeited.

       71.                  April 2017, Plaintiff pleaded for the forfeited-scholarship

             renewal but it was unrenewable as he heretofore hoped because it

             has been given to someone else due to the lapsed of time.

                72.         ISU employees, including but not limited to Individual

      Defendants, unlawfully failed to exercise the authority to institute
Case 4:17-cv-00197-SMR-HCA Document 1 Filed 06/07/17 Page 24 of 29


                                                          I
      corrective measures; offered unreasonable and u'.nfair remedies to the

       situations;" showed deliberate indifference that caused: the forfeiture of

      his scholarship delaying is graduation, exposing his life to myriad

      dangers and forcing him to depend financially on his friends, who had

       graduated, to survive.


             Chronological summary ofISU'S exploitation of Plaintiff's
            supposed difficulties and loopholes to frustrate his academic
                                     endeavours

      73.        Spring 2010: ISU_barred Plaintiff from taking classes, put a

            hold on his transcript, put him out of status, put interest on money

            he owed, told him at ISSO to leave and go back home; stating over

            the phone "you cannot finish from here[USA]. .. you will not be able

            to come back". Although plaintiff had a 4.0 GPA, had paid over

            fifteen thousand dollars and only owed about eight thousand dollars.

      74.        Plaintiff was forced to go back home and lost two years due

            reapplication for admission, visa process and bureaucracy inherent

            iri these processes.

      75.        Spring 2012 after losing two years: plaintiff was ordered to pay

            over twelve thousand dollars ($8000+interest); was ordered to pay

            seventeen thousand dollars, tuition only, before he would be

            allowed to take just spring 2012 semester and is barred from ISU

            housing permanently without stating any reason for this bar.
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      76.         End of spring 2012: Plaintiff was ordei!ed to pay forty

        · thousand dollars; and was still permanently barred from ISU

        . housing, before he would be allowed to take fall 2012 semester. ··

            Furthermore, Plaintiff was failed in two classes, which he

            stressfully rectified via instructors. For these stressful reasons,

            Plaintiff decided to transfer out.

      77.         Spring 2014: Plaintiff was ordered to pay twenty two

            thousand dollars tuition only (and he is still permanently barred

            from ISU housing) before a transfer-in can be approved. Plaintiff

            paid twenty five thousand dollars in total for two semesters (spring

            & fall 2014 tuition only). Furthermore, Plaintiff was failed in two

            classes (AeroE 160 and AeroE 426) and arbitrary and unreasonable

            decisions, without due process, were placed on him leading to his

            loss of scholarship. Due to these stressful situations, Plaintiff

            transfer out ofISU.

      78.         Spring 2016: Plaintiff was ordered to present a doctor's leave-

            of-absence letter or lose his legal status; he was failed because he

            miss.ed one class of the whole semester due to a headache; the

            contract was breach by ISU; Plaintiff was academically retrogressed

            to freshman status and stagnated due to missing a seminar class

            eng-101illspring2009; transcript was put on hold because Plaintiff
Case 4:17-cv-00197-SMR-HCA Document 1 Filed 06/07/17 Page 26 of 29
                                                             I
                                                             I



             was unable to pay tuition due partly to the   br~ach of contract and
        · partly to lose of scholarship.·

       79.        ISU has clearly established a pattern of exploiting Plaintiffs

             supposed weaknesses, creating difficulties, uncontrollable situations

             and financial strains to stagnate and prevent him from progressing

             consistently in order to graduate within four years. Strewing pitfalls

             on his road to a degree while ignoring the Due Process of law, ISU

             has eviscerated Plaintiffs dream to earn an Aerospace Engineering

             degree and frustrated his friends and family.


                            FIRST CAUSE OF ACTION
                  Breach of Contract-Promissory Estoppel
                80.          Plaintiff repeats and realleges each of the allegations

       contained in paragraphs 1 through 79 of this Complaint.

                      81.    By promising to provide a peaceful and sedentary

             academic environment, as recommended by the doctor's medical

             leave of absence letter and to follow the recommendations therein,

             where Plaintiff can pursue his degree in good faith [spring, 2016];

             by promising to offer scholarship and award honours judiciously

             and in good faith [spring, 2014]; by promising to focus on its

             students while providing opportunities and world-class experience

             in an objective academic climate, Defendants have caused Plaintiff
Case 4:17-cv-00197-SMR-HCA Document 1 Filed 06/07/17 Page 27 of 29


                                                       i
         to enrol in the University and detrimentally rely upon the

         University's promises.

                  82.   Plaintiff was deprived of his clearly established legal

         rights under Iowa common law which caused academic stagnation.

         Plaintiff suffered, and continues to suffer, economic injury and

         irreparable harm. Plaintiff therefore is entitled to an award of

         pecuniary damages, cost of lawsuit and equitable relief.


                    SECOND CAUSE OF ACTION
        Violation of the Procedural and Substantive Component of the
  Due Process Clause of the Fourteenth Amendment to the United States
                Constitution Pursuant to 42 U.S.C. §1983
            83.          Plaintiff repeats and realleges each of the

      allegations contained in paragraphs 1 through 82 of this Complaint.

                  84.    The Fourteenth Amendment provides that no state

         shall "deprive any person of life, liberty, or property, without due

         process of law."

                  85.    The Due Process Clauses of the Iowa and United

         States Constitutions are embroiled in the academic grievance

         process of Iowa State University.

                  86.   The Defendant deciding not to respond to

         Oluwatosin's complaint, putting the grievance process on a hold for

         over one year, violates Oluwatosin Due Process rights pursuant to

         42 U.S.C. § 1983; given Dayal Vinay in his individual capacity, as a
Case 4:17-cv-00197-SMR-HCA Document 1 Filed 06/07/17 Page 28 of 29



         constitutional obligation to put in motion a fair and reliable process
                                                         I
        . that recognises the basic Due Process rights of students in a

         expeditious fashion.

               87.      As a direct and proximate result of the Defendant's

         [Dayal Vinay] violation of 42 U.S.C. § 1983, the defendant is partly

         responsible for the loss of Oluwatosin's scholarship, long-drawn
                                        I



         undergraduate degree, mental anguish and extreme hardship.

               88.      Defendant, Altukhova Nataliya in her official

         capacity and individual capacity, violated Oluwatosin's Due

         Process rights pursuant to 42 U.S.C. § 1983 and 5 U.S. Code§ 706

         partly by ignoring his concerns of being ostracised, displaying

         indifference, failing to exercise the authority to institute corrective

         and proactive measures within a meaningful time frame and

         implementing arbitrary actions and decision.

               89.      Because of the Defendant's (Altukhova Nataliya)

         action the defendant is partly responsible for the loss of

         Oluwatosin's scholarship.

               90.      Because of Individual Defendants' unlawful actions,

         Plaintiff is entitled to pecuniary damages and injunctive relief.
                                   Case 4:17-cv-00197-SMR-HCA Document 1 Filed 06/07/17 Page 29 of 29
JS 44 (Rev. 12112)                                                                               CIVIL COVER SHEET
The JS 44 civil cover sheet and the infonnation contained herein neither rejilace nor supplement the filing and service of pleadings or other papers as required by Jaw, except as
provided by local rules of court. This fonn, approved by the Judicial Conference of the United Stales in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXI' PAGE OF THIS FORM.)            .

I. (a) PLAINTIFFS                                                                                                                            DEFENDANTS



     (b) County of Residence ofFirst Listed Plaintiff                                _ _ _ _S_to_r~y_ _ _ _ __                               County of Residence of First Listed Defendant                                                            Story
                                          (EXCEPT IN U.S. PLAJNTIFF CASES)                                                                                                '        (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                             NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                        THE TRACT OF LAND INVOLVED.

     ( C) Attomeys (Firm Name, Address, and Telephone Number)                                                                                 Attorneys (I/Known)




II. BASIS OF JURISDICTION (Placean "X"inOneBoxOn{vJ                                                                      Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" In one Box/or Plaintiff
                                                                                                                                         (For Diversity Cases Only)                                                                      and One Box for Defendant)
01       U.S. Government                         03        Federal Question                                                                                            PTF             DEF                                                                 PTF           DEF
            Plaintiff                                        (U.S. Government Nol a Party)                                        Citizen of This State                0 1             0 I             Incorporated or Principal Place                      0 4          XI4
                                                                                                                                                                                                         of Business Jn This Slate

02       U.S. Government                         Cl{ 4     Diversity                                                              Citizen of Another State             0 2              0       2      Incorporated and Principal Place                       0     s    0    s
            Defendant                                         (Indicate Citizenship of Parties in Item Ill)                                                                                               ofBusiness In Another Stale

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IV. NATURE OF SUIT (Place an "X" in One Box Onlv)                                            ·
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0    120 Marine                                      0 310 Airplane                       O 36S Personal Injury -                      of Property 21 USC 881                  O 423 Withdrawal                                          0     400 State Reapponionment
0    130MillerAcl                                    0 31SAirplane Product                       Product Liability                0 6900ther                                         28USC 1S7                                           0     410Antilrust
0    140 Negotiable Instrument                                   Liability                0 367 Health Care/                                                                                                                             0     430 Banks and Banking
0    1SO Recovery of Overpayment                     0 320 Assault, Libel &                     Pharmaceutical                                                                 · ..:v.w:OPEu:~·""u GH'f·"'···                            0     4SO Commerce
         & Enforcement of Judgment                               Slander                        Personal Injury                                                                0 820 Copyrights                                          0     460 Deportation
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 0   160 Stockholders' Suits                          0 3SS Motor Vehicle                 0 371 Truth in Lending                   0    720 Labor/Management                   0    863 DIWCIDIWW (40S(g))                               0     890 Other Statutory Actions
M    J90 Other Contract                                         Product Liability         0 380 Other Personal                               Relations                         O    864 SSID Titlo XVI                                   0     891 .Agricultural Acts
 0   J9S Contract Product Liability                  0 360 Other Personal                       Property Damage                    O    740 Railway Labor Act                  O    865 RSI ( 40S(g))                                    0     893 Environmental Matters
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 0 210 Land Condenmation                            'JtJ 440 Other Civil Rights             Habeas Corpus:                                  Income Security Act                O 870 Taxes (U.S. Plaintiff                                         Act/Review or Appeal of
 0 220 Foreclosure                                   O 441 Voting                         0 463 Alien Detainee                                                                       or Defendant)                                                 Agency Decision
 0 230 Rent Lease & Ejectmenl                        0 442 Employment                     0 S 10 Motions to Vacate                                                             O 871 IRS-Third Pany                                      0     950 Constitutionality of
 0 240.Tons lo Land                                   0 443 Housing/                             Sentence                                                                            26 USC 7609                                                   State Statutes
 0 24S Ton Produc\ Liability                                    Accommodations            0 S30 General
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V. 0 RI GIN (Place a,, "X" in One Box Only)
i)1l I    Original               0 2 Removed from                          0     3        Remanded from                 0 4 Reinstated or              0 5 Transferred from                            0 6 Multidistrict
          Proceeding                      State Court                                     Appellate Court                          Reopened                    Another District                                    Litigation
                                                                                                                                                               (s ecify)
                                                      Cite lhe U.S. Civil Stantle under which you are filing (Do not cite jurisdictional statures unless diversity): 28 U.S. Code§ 1332 - Diversity of citizenship:
                                                           42 U.S. C. §1983                                    .                                                     amount in controversy greater than $75000
 VI. CAUSE OF ACTION,____._---..-.-....-....:...........- - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                      Brief description of cause: Breach of contract: Violation of the Fourteenth Amendment:
                                                            Violation of Due Process Provisions of United States and Iowa Constitutions.
 VII. REQUESTED IN    0                                      CHECK IF THIS IS A CLASS ACTION                                            DEMAND$ 90,000                                            CHECK YES only if demanded                            in complaint:
      COMPLAINT:                                             UNDER RULE 23, F.R.Cv.P.                                                                                                             JURY DEMAND:                                  0 Yes         )IQ   No

 vrn. RELATED CASE(S)
      IF ANY                                              (See instructions):
                                                                                          JUDGE                                                                                     ,DOCKET NUMBER
 DATE                                                                                        SIONA TURE OF ATTORNEY OF RECORD

 FOR OFFICE USE Olli'L Y

    RECEIPT#                               AMOUNT                                                 APPL YING IFP                                             JUDGE                                                    MAG.JUDGE
